      Case 2:19-cv-00239-GMS Document 53 Filed 11/16/20 Page 1 of 1



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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Ronald H. Pratte,                              No. CV-19-00239-PHX-GMS
10                 Plaintiff,                       ORDER
11   v.
12   Jeffrey Bardwell, et al.,
13                 Defendants.
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16         IT IS HEREBY ORDERED setting a Telephonic Pre-Motion Conference for

17   November 20, 2020 at 3:00 p.m., to discuss the proposed summary judgment motions
18   (Docs. 51 and 52).

19         IT IS FURTHER ORDERED the parties shall disseminate the conference call-in

20   number on or before noon on Wednesday, November 18, 2020, to the parties, including
21   the Court.
22         Dated this 16th day of November, 2020.

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